             Case 2:09-cr-00121-JAM Document 54 Filed 04/19/12 Page 1 of 2




1    BENJAMIN B. WAGNER
     United States Attorney
2    RUSSEL L. CARLBERG
     PAUL A. HEMESATH
3    S. ROBERT TICE-RASKIN
     Assistant U.S. Attorneys
4    501 “I” Street, Suite 10-100
     Sacramento, California 95814
5    Telephone: (916) 554-2748
6
7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )       CR. NO. S-09-121 JAM
                                        )
12                    Plaintiff,        )       ORDER FOR FORFEITURE
                                        )       MONEY JUDGMENT
13          v.                          )
                                        )
14   CHRISTOPHER J. WARREN,             )
                                        )
15                    Defendant.        )
                                        )
16                                      )
17          Based upon the United States’ Application for Forfeiture Money
18   Judgment and the plea agreement entered into between plaintiff
19   United States of America and defendant Christopher J. Warran,
20          IT IS HEREBY ORDERED that
21          1.   The defendant Christopher J. Warren shall forfeit to the
22   United States the sum of $7,457,118.18 and that the Court imposes a
23   personal forfeiture money judgment against defendant in that amount.
24          2.   Any funds applied towards such judgment shall be forfeited
25   to the United States of America and disposed of as provided for by
26   law.    Prior to the imposition of sentence, any funds delivered to
27   the United States to satisfy the personal money judgment shall be
28   seized and held by the United States Marshals Service, in its secure

                                            1           Order for Forfeiture Money Judgment
           Case 2:09-cr-00121-JAM Document 54 Filed 04/19/12 Page 2 of 2




1    custody and control.
2         3.   This Order of Forfeiture shall become final as to the
3    defendant at the time of sentencing and shall be made part of the
4    sentence and included in the judgment.
5         4.   The United States may, at any time, move pursuant to Rule
6    32.2(e) to amend this Order of Forfeiture to substitute property
7    having a value not to exceed $7,457,118.18 to satisfy the money
8    judgment in whole or in part.
9
10   DATED: April 18, 2012            /s/ John A. Mendez
                                      Honorable JOHN A. MENDEZ
11                                    United States District Court Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         2            Order for Forfeiture Money Judgment
